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   EXHIBIT 5
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     HOW GOOGLE ANONYMIZES DATA



     Anonymization is a data processing technique that removes or modifies personally identifiable information; it
     results in anonymized data that cannot be associated with any one individual. It’s also a critical component of
     Google’s commitment to privacy.


     By analyzing anonymized data, we are able to build safe and valuable products and features, like
     autocompletion of an entered search query, and better detect security threats, like phishing and malware sites,
     all while protecting user identities. We can also safely share anonymized data externally, making it useful for
     others without putting the privacy of our users at risk.




     Two of the techniques we use to protect your data

     Generalizing the data

     There are certain data elements that are more easily connected to certain individuals. In order to protect those
     individuals, we use generalization to remove a portion of the data or replace some part of it with a common
     value. For example, we may use generalization to replace segments of all area codes or phone numbers with
     the same sequence of numbers.


     Generalization allows us to achieve k anonymity, an industry standard term used to describe a technique for
     hiding the identity of individuals in a group of similar persons In k anonymity, the k is a number that represents
     the size of a group. If for any individual in the data set, there are at least k-1 individuals who have the same
     properties, then we have achieved k-anonymity for the data set. For example, imagine a certain data set where k
     equals 50 and the property is zip code If we look at any person within that data set, we will always find 49
     others with the same zip code Therefore, we would not be able to identify any one person from just their zip
     code


     If all individuals in a data set share the same value of a sensitive attribute, sensitive information may be
     revealed simply by knowing these individuals are part of the data set in question. To mitigate this risk, we may
     leverage l-diversity, an industry-standard term used to describe some level of diversity in the sensitive values.
     For example, imagine a group of people searched for the same sensitive health topic (e.g. flu symptoms) all at
     the same time. If we look at this data set, we wouldn’t be able to tell who searched for the topic, thanks to k-
     anonymity. However, there may still be a privacy concern since everyone shares a sensitive attribute (i.e. the
     topic of the query). L-diversity means the anonymized data set would not only contain flu searches. Rather, it
     could include other searches alongside the flu searches to further protect user privacy.
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     Adding noise to data


     Differential privacy (also an industry-standard term) describes a technique for adding mathematical noise to
     data. With differential privacy, it’s difficult to ascertain whether any one individual is part of a data set because
     the output of a given algorithm will essentially appear the same, regardless of whether any one individual’s
     information is included or omitted. For example, imagine we are measuring the overall trend in searches for flu
     across a geographic region. To achieve differential privacy, we add noise to the data set. This means we may
     add or subtract the number of people searching for flu in a given neighborhood, but doing so would not affect
     our measurement of the trend across the broader geographic region. It’s also important to note that adding
     noise to a data set may render it less useful.


     Anonymization is just one process we use to maintain our commitment to user privacy. Other processes include
     strict controls on user data access, policies to control and limit joining of data sets that may identify users, and
     the centralized review of anonymization and data governance strategies to ensure a consistent level of
     protection across all of Google.




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